                                                                      Case
                                                                      Case3:07-cv-05944-SC
                                                                           3:07-cv-05944-JST Document2378-2
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8                                UNITED STATES DISTRICT COURT
                                                                9                             NORTHERN DISTRICT OF CALIFORNIA
                                                               10                                     SAN FRANCISCO DIVISION
                                                               11
                              A TTORNEYS A T L AW




                                                               12   IN RE: CATHODE RAY TUBE (CRT)                       Master Case No.: 3:07-cv-05944-SC
                                               L OS A NGELES




                                                                    ANTITRUST LITIGATION                                MDL No. 1917
                                                               13

                                                               14                                                       [PROPOSED] ORDER GRANTING
                                                                    This document relates to:                           DIRECT ACTION PLAINTIFFS’
                                                               15                                                       ADMINISTRATIVE MOTION TO FILE
                                                                    Electrograph Systems, Inc. et al. v.                UNDER SEAL PURSUANT TO CIVIL
                                                               16   Technicolor SA, et al., No. 13-cv-05724;            LOCAL RULES 7-11 AND 79-5
                                                               17   Alfred H. Siegel, as Trustee of the Circuit City    Before the Honorable Samuel Conti
                                                                    Stores, Inc. Liquidating Trust v. Technicolor
                                                               18   SA, et al., No. 13-cv-05261;

                                                               19   Best Buy Co., Inc., et al. v. Technicolor SA, et
                                                                    al., No. 13-cv-05264;
                                                               20
                                                                    Interbond Corporation of America v.
                                                               21   Technicolor SA, et al., No. 13-cv-05727;

                                                               22   Office Depot, Inc. v. Technicolor SA, et al., No.
                                                                    13-cv-05726;
                                                               23
                                                                    Costco Wholesale Corporation v. Technicolor
                                                               24   SA, et al., No. 13-cv-05723;

                                                               25   P.C. Richard & Son Long Island Corporation,
                                                                    et al. v. Technicolor SA, et al., No. 13-cv-
                                                               26   05725;

                                                               27   Schultze Agency Services, LLC, o/b/o Tweeter
                                                                    Opco, LLC, et al. v. Technicolor SA, Ltd., et
                                                               28   al., No. 13-cv-05668;
                                                                                                                                 [PROPOSED] ORDER GRANTING DAPS’
                                                                    60740244.1                                                      ADMINISTRATIVE MOTION TO FILE
                                                                                                                                           DOCUMENTS UNDER SEAL
                                                                      Case
                                                                      Case3:07-cv-05944-SC
                                                                           3:07-cv-05944-JST Document2378-2
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                                                                    Sears, Roebuck and Co. and Kmart Corp. v.
                                                                2   Technicolor SA, No. 3:13-cv-05262;
                                                                3   Target Corp. v. Technicolor SA, et al., No. 13-
                                                                    cv-05686
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                              A TTORNEYS A T L AW




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                                               L OS A NGELES




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                                                                                                                        [PROPOSED] ORDER GRANTING DAPS’
                                                                    60740244.1                                    -2-      ADMINISTRATIVE MOTION TO FILE
                                                                                                                                  DOCUMENTS UNDER SEAL
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                                                                1                                          [PROPOSED] ORDER
                                                                2            This matter comes before the Court on the Direct Action Plaintiffs’ (“DAPs”)1 February
                                                                3   10, 2014 Administrative Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-
                                                                4   11 and 79-5 (“Motion to Seal”). Having considered the Motion to Seal, the Declaration of
                                                                5   Vincent S. Loh in support thereof, and any additional declarations subsequently filed in support,
                                                                6   and good cause appearing therefore:
                                                                7            The Court hereby GRANTS the Motion to Seal and orders that the following are properly
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8   sealable and shall be sealed:
                                                                9

                                                               10                         Highlighted portions of the DAPs’ Opposition to
                                                               11                         Thomson SA’s Motion to Dismiss (“Opposition”),
                              A TTORNEYS A T L AW




                                                               12                         found on pages 3, 4, 5, 7, 8, 14, and 16 of the
                                               L OS A NGELES




                                                               13                         Opposition.
                                                               14                         Exhibit A to the Declaration of Vincent S. Loh in
                                                               15                         Support of the DAP’s Opposition (“Loh
                                                               16                         Declaration”).
                                                               17                         Exhibit B to the Loh Declaration
                                                               18                         Exhibit C to the Loh Declaration
                                                               19                         Exhibit D to the Loh Declaration
                                                               20                         Exhibit E to the Loh Declaration
                                                               21                         Exhibit F to the Loh Declaration
                                                               22                         Exhibit G to the Loh Declaration
                                                               23                         Exhibit H to the Loh Declaration
                                                               24
                                                                    1
                                                                     The Direct Action Plaintiffs include the following plaintiffs: Best Buy Co., Inc.; Best Buy
                                                               25   Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.; BestBuy.com,
                                                                    L.L.C.; Magnolia Hi-Fi, LLC; Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
                                                               26   Office Depot, Inc.; Interbond Corporation of America; P.C. Richard & Son Long Island
                                                                    Corporation; MARTA Cooperative of America, Inc.; ABC Appliance, Inc.; Shultze Agency
                                                               27   Services, LLC; Alfred H. Siegel, solely in his capacity as Trustee of the Circuit City Stores, Inc.
                                                                    Liquidating Trust; Costco Wholesale Corporation; Sears Roebuck and Co. and Kmart Corp.; and
                                                               28   Target Corp.
                                                                                                                                    [PROPOSED] ORDER GRANTING DAPS’
                                                                    60740244.1                                     -1-                 ADMINISTRATIVE MOTION TO FILE
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                                                                1
                                                                                       Exhibit O to the Loh Declaration
                                                                2
                                                                                       Exhibit P to the Loh Declaration
                                                                3
                                                                                       Exhibit Q to the Loh Declaration
                                                                4
                                                                                       Exhibit R to the Loh Declaration
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                                                                                       Exhibit S to the Loh Declaration
                                                                6
                                                                                       Exhibit T to the Loh Declaration
                                                                7
                                                                                       Exhibit U to the Loh Declaration
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                                                                             IT IS SO ORDERED.
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                                                               11             March 7, 2014
                                                                    DATED: ________________________              _______________________________________
                              A TTORNEYS A T L AW




                                                                                                                 HONORABLE SAMUEL CONTI
                                                               12                                                United States District Court Judge
                                               L OS A NGELES




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                                                                                                                            [PROPOSED] ORDER GRANTING DAPS’
                                                                    60740244.1                                -2-              ADMINISTRATIVE MOTION TO FILE
                                                                                                                                      DOCUMENTS UNDER SEAL
